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                                  Faculty of Arts and Sciences


                             R~.JL~S OF FACULTY I'I~~CEII~LJ~ZE


These rules were endorsed by a vote of the Faculty at a regular meeting on December 7, 2010,
and approved by an electronic ballot of all members ofthe Faculty conducted from December 8,
2010, to December 21, 2010. Rule 4 was amended by vote of the Faculty on March 27, 2012.


Faculty Council
    1. There shall be a Faculty Council consisting ofthe Dean of the Faculty, who shall serve as
chair, and eighteen elected voting members ofthe Faculty. Six of the elected members shall be
chosen from each of three areas: Arts and Humanities, Natural and Applied Sciences, and Social
Scienceso Within each ~.rea there shall be four tenured members of the Faculty and two non-
tenured members, save for temporary departures from this proportion occasioned by the
promotion of members. The elected members of the Council shall serve three-year terms. The
terms of service shall be staggered so that, ordinarily, six neW members will be elected each
year.
Docket Committee
    2. There shall be a Docket Committee composed of three voting members of the Faculty
elected by and from the Faculty Council. The Dean of the Faculty shall be the chair of the
Docket Committee, ex officio, and each year the Docket Committee shall choose one of its
elected members to serve as vice-chair. The vice-chair of the Docket Committee shall also serve
as vice-chair of the Faculty Council. The Docket Committee sha11 have, subject to the vote ofthe
Faculty, general supervision of the order in which business is taken up at Faculty meetings and
the procedural rules under which each item of business is considered.
Voting Members of the Faculty and Guests
    3. A11 voting members of the Faculty shall be eligible to attend all meetings of the Faculty
and are strongly encouraged to do so. Chairs, Directors of Graduate Studies, and Mead
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of the School of Engineering and Applied Sciences,lVlasters of the Houses, and the members of
the Administrative Boards of the College and of the Graduate School of Arts and Sciences, as
well as the members of the Faculty Council, are expected to attend all meetings of the Faculty.
    The Dean of the Faculty, in consultation with the elected members of the Docket Committee,
may invite guests to attend meetings of the Faculty as observers. Special permission of the Dean.,
in consultation with the Docket Committee, is required before guests may be invited to speak.


                                                                                  EXHIBIT 8
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   The student members of certain committees, as authorized by the Faculty, shall ordinarily be
permitted to attend meetings of the Faculty and will be invited to take part in discussions on
matters relevant to the interests of these committees.
   No one shall vote at any meeting of the Faculty, however, except members of the Faculty as
defined in the Fifth Statute of the University.
   The Dean, in consultation with the Faculty Council, reserves the right to meet in camera with
only voting members present on matters concerned with degrees, prizes, or other business as
deemed necessary.
Faculty Meeting Schedule
   4. Regular meetings of the Faculty shall be held on the first Tuesdays of October, November,
December, February, March, April, and May. Regular meetings will normally convene at 4:00
p.m.
   A degree meeting shall be held at 4:30 p.m. on the Monday preceding Commencement,
except in years when Commencement occurs the same week as Memorial Day, in which case a
degree meeting shall be held. at 4:30 p.m. on the Tuesday preceding Commencement. Degree
meetings shall also be held at other times as requested by the Administrative Boards.
   The schedule of regular meetings may be modified by the Dean of. the Faculty with the
agreement of the Faculty Council, provided that notice of any such change is sent to every voting
member ofthe Faculty well in advance, whenever possible before the end of the previous term.
Cancellation of Faculty li~eetings
   5. In case no business is in need of immediate action, the Dean of the Faculty, with the
approval of the Faculty Council, may omit any regular meeting.
Faculty Meeting Time Reserved
   6. No class meeting, tutorial conference, examination, or other academic activity under the
control of this Faculty and involving the presence of a voting member of this Faculty, and no
meeting of any committee of this Faculty or of any of its subdivisions, shall be scheduled from
4:00 until 5:34 p.m., or and part of that period, on any of the days designated. for regular Faculty
meetings in Rule 4 or any amendment thereof.
Special Meetings of the Faculty
    7. Special meetings of the Faculty or meetings of extraordinary length may be called by the
President, by the Dean of the Faculty, by the Docket Committee with the voted approval of the
Faculty Council, by vote ofthe Faculty, or by petition signed by the smallest whole number not
less than one-tenth of the number of voting members of the Faculty. The authority calling a
special meeting snail s~taie ine genera n~.iure ozine nus~nes~ ~:~ n~ c~n5 uer~~. 11 ~IdLL1C~d~~1~G~ ~iic
Faculty shall be notified of a forthcoming special meeting sufficiently far in advance that any
voting member may propose relevant items for the agenda.
Chairing Faculty Meetings
   8. At each meeting of the Faculty the President, or, in his or her absence, the Dean of the
Faculty, shall preside. If both of these officials are absent, the vice-chair of the Docket
Committee shall preside.
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Quorum
    9. The quorum at any regular or special meeting of the Faculty shall be the smallest whole
number not less than one-eighth the number of voting members of the Faculty on September 1 of
the academic year. A request to determine the presence or absence of a quorum shall be in order
at any time, but once the presence of a quorum. has been ascertained, either by a count or by an
unchallenged ruling of the Chair, it Will be presumed to continue unless another count is
requested and it is determined that a quorum is not present. No binding votes concerning a matter
of substance shall be taken in the absence of a quorum.
Degree Meetings
    10. At a degree meeting, no quorum shall be necessary; but it is expected that members of the
Administrative Boards recommending candidates for degrees, the chairs of all departments and
curricular committees, all Head Tutors or Directors of Undergraduate Studies, and all Directors
of Graduate Studies will attend the degree meeting. The provisions of Rule 18 shall not apply at
the degree meeting, but no business shall be transacted except that pertaining to the awarding of
degrees, honors, and prizes; to Commencement; or to Courses of Instruction.
Faculty Meeting Agendas
    1 1. The Docket Committee shall prepare an agenda for each regular or special meeting of the
Faculty and shall circulate it at least four days in advance of the meeting. The agenda shall
include a description of all business expected to be taken up, the texts of all motions to be
debated, and explanatory notes as appropriate. Proposed amendments to motions submitted to the
Secretary ofthe Faculty by voting members ofthe Faculty by noon the day before a meeting
shall be distributed in print at the meeting. Any matter deemed substantive by the Docket
Corr~mittee shall be so designated on the agenda of the meeting at which. it is introduced and
discussed, and shall be voted on only at a subsequent meeting..Insofar as practicable, all reports
and other information to be presented at a meeting shall be distributed to voting members of the
Faculty in advance of the meeting to maximize the opportunity for discussion of the materials.
Guests will also receive any of the materiels that are not confidential.
   If a meeting ofthe Faculty is adjourned to a definite time, the Docket Committee shall
prepare a supplementary agenda, if necessary, Which shall supersede the original agenda.
   Each meeting of the Faculty from the time it is called to order through any recesses or
temporary adjournments until final adjournment shall be considered a single session for
parliamentary purposes.
Order of Business

    12. At a regular meeting of the Faculty, the general order of business shall be as follows:
        a)Secretary's Business, including the approval of the minutes of the last meeting
        b)The reading of Memorial Minutes
        c)Communications and business introduced by the Dean of the Faculty (Dean's
           Business)
        d)Communications and business introduced by the President (President's Business)
        e)Question Period
        ~ New Business introduced by any voting member of the Faculty
        g)Report of the Docket Committee
        h)Agenda items from the docket
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Question Period
    13. During Question Period, any voting member of the Faculty may ask any question
concerning any aspect of University policy or administration. The students authorised to attend
Faculty meetings under Rule 3 may ask questions concerning matters relevant to the interests of
their committees. Questions shall be answered immediately, if possible. Question Period is for
information only; no motions shall be made and no legislative action shall be taken during
Question Period.
    Prepared questions may be filed with the Secretary of the Faculty by noon on the day before
a meeting ofthe Faculty. The Docket Committee will attempt to arrange that an answer be
forthcoming. Prepared questiar~s shall be heard first, but, if q~es~~o~ers aye asking to be
recognized, the Chair shall not terminate Question Period until at least two extemporaneous
questions have been asked.. The decision to terminate Question Period shall be subject to
challenge from the floor.
   Questions raised at a meeting but not answered shall be treated as prepared questions at the
next regular meeting of the Faculty.
New Business
    14. When new business is called for, any voting member of the Faculty may introduce any
item of business as follows:                           t
        a) The member shall state briefly the substance of his or her business and the reason for
           br~ng~~g it to the Faculty directly ~.r~d not through the normal procedure.
        b) A member of the Docket Committee may reply briefly.
        c) The Faculty will then vote without further debate whether or not to take up the matter.
           If the number voting in favor is greater than or equal to four-fifths of. the number
           noting, the business shall be taken up immediately. If consent is refused, the item
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       d) If new business is taken up, debate shall ordinarily be limited to thirty minutes. If the
          matter is not disposed of within thirty minutes, a vote shall be taken as to whether it
          shall be sent to the Docket Committee or debate shall continue.
Docketing Items
    15. It shall be the duty of the Docket Committee to keep a docket of business awaiting action.
Every voting member of the Faculty as Well as each department and committee of the Faculty
sha11 have the right to introduce items of business onto the docket. The Docket Committee shall
place on an agenda for action or discussion all items it receives. Normally, the Docket
Committee will satisfy itself that every item of business brought to the floor ofthe Faculty has
been considered by all the appropriate officials and committees. Any voting member of the
FacultY,however, may require that any item appear on the agenda for any regular or special
meeting by submitting the item to the Secretary of the Faculty by noon eight days before the
meeting of the Faculty Council preceding the meeting of the Faculty in question. It is the duty of
the Docket Committee to determine the order ofthe items on the agenda for meetings of the
Faculty.
Reordering Agenda Items
    16. Docketed agenda items shall normally be taken up in the order in which they are printed
in the agenda. Before each item is taken up, however, if more than one item remains, it shall be
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in order to move that consideration be given to an item different from the one next on the
agenda. If such a motion is made and seconded, it shall be voted on with no debate beyond the
remarks ofthe mover and a reply from the Docket Committee. Such a motion may also be made
by the Docket Committee.
Special Procedural Rules
    17. The Docket Committee may recommend special procedural rules, which shall be printed
in the agenda. These procedures could include recommended timing for agenda items or voting
methods such as a mail ballot. When an agenda item for which the Docket Committee has
proposed a special procedural rule reaches the floor, the rule must be accepted or rejected before
any ~.e~at+e on the item itself. The procedural r~~~ may be debated ~~ am~r~d~~, bit a~~
amendments moved and seconded will be voted on with no debate beyond the remarks of the
mover and a reply from the Docket Committee. If the procedural rule, or the procedural rule
amended, is accepted by the Faculty, consideration of the agenda item shall commence forthwith
under the rules accepted. If the procedural rule is rejected, another vote shall immediately be
taken as to whether the agenda item shall be taken up immediately without special rules or
returned to the docket.
Finalizing Amendments
    18. If at any regular or special meeting an item of legislation is passed by the Faculty in a
form substantively different from that printed and circulated in the agenda for that meeting, it
shall be laid over to another meeting for a con~Irmatory vote before becoming final. When a
mc~ti~n ~s brought up fog con~rmat~on, debate ~hal~ be limited ~o one speech ~.gainst and one
speech for the motion, unless the Faculty votes otherwise.
Methods of Voting
      19. Unless otherwise stated, votes will carry with a simple majority of members present and
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will be taken b~ voice vote, the outcome of which will be determined by the Chair; but any
member may require that a hand count be made. Moreover, any member may move, either before
or after a vote has been taken by voice vote or by hand count, that a vote be taken by paper
ballot. If this proposal is supported by a majority of those present and voting, it shall be so taken.
Ballots
    20. At any timeprior to the taking of a final vote at a Faculty meeting on items relating to the
basic procedures or organization of the Faculty, any voting member of the Faculty may propose
that the vote be taken by a ballot to be sent to all voting members of the Faculty. A motion for
such a ballot shall be debatable and will prevail if approved by majority vote.
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the supervision of the Docket Committee, will prepare the ballot and an accompanying statement
giving, in addition to the original explanatory notes, a summary of the discussion.
    On an item relating to the basic procedures or organization of the Faculty, the Docket
Committee, in a special procedural rule, may call for a decision by a ballot to be sent to all
voting members of the Faculty. Such a procedural rule shall include an explicit statement
concerning how amendments, if any, shall be handled. If the proposed procedural rule is rejected
by the Faculty, then no final action can be taken on the item at that meeting; it shall be placed on
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the agenda of the next meeting of the Faculty. The Docket Committee may not again propose a
ballot in connection with that item.
Adjournment
    21. Regular meetings of the Faculty will normally adjourn at 5:30 p.m. and special meetings
at the hour stated in the agenda ofthe meeting. If it appears that the agenda will not be
completed, the Chair shall recognize the elected members of the Docket Committee for a motion
on adjournment. The Docket Committee inay then move to continue the meeting to a later hour,
to recess .until a later hour in the evening, to adjourn to a fixed time prior to the next regular
meeting, or to adjourn. A vote on this motion shall be taken after not more than five minutes of
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and other motions on adjournment Will be in order.
Procedural Questions
    22. These rules supersede all previously voted rules of Faculty procedure. On all questions of
procedure not otherwise covered by these rules, the Faculty shall be governed by Robert's Rules
of Order. The Chair has ultimate authority in instances where neither the Rules of Faculty
Procedure nor Robert's Rules of Order provide clear guidance.
Parliamentarian
   23. At the first meeting of the Faculty each year, the Faculty Council shall propose, for
confirmation by the Faculty, a Parliamentarian, who shall not be a member cif the Faculty
~our~~il. Thy Parliamentarian will advise the Chair concerning the interpretation of these rules
and all other matters of parliamentary procedure.
Duties of the Secretarg~ of the Faculty
         24. The Secretary shall maintain the list of the voting members of the F~.culty and the list of
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proceedings before the Faculty, including the number of voting members of the Faculty
attending, a summary of all oral reports presented and all questions asked and their answers, the
full test of all written reports and of all motions and amendments considered., and a summary of
the debate. Promptly after each meeting, he or she shall make available to the voting members of
the Faculty the final text of all motions passed. As soon as practicable after each meeting, he or
she shall make available to the voting members of the Faculty the minutes ofthe meeting.
Distribution of the Rules of Faculty Procedure
   25. The Rules of Faculty Procedure, in the form currently valid, shall be distributed to all
voting members ofthe Faculty at the time of their appointment and annually thereafter.
